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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Kathleen Arthur,                                  No. CV-17-03242-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   Key Bank USA NA, et al.,
13                  Defendants.
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15            The Court having received the parties’ Stipulation for Dismissal with Prejudice of
16   Experian Information Solutions, Inc. (Doc. 91), filed on June 14, 2018,
17            IT IS ORDERED approving the Stipulation (Doc. 91) and dismissing this action
18   as to Defendant Experian Information Solutions, Inc. only, with prejudice, each party
19   to bear its own attorneys’ fees and costs.
20            IT IS FURTHER ORDERED directing the Clerk of Court to terminate Defendant
21   Experian Information Solutions, Inc. only.
22            Dated this 14th day of June, 2018.
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                                                   Honorable Diane J. Humetewa
25                                                 United States District Judge
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